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                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION


  In re                                           §
                                                  §
  RONCO HOLDINGS, INC.,                           §           CASE NO. 18-10511-TMD
                                                  §
                        Debtor.                   §                  Chapter 11

    DEBTOR’S RESPONSE TO UNOPPOSED MOTION TO (I) ALLOW AND COMPEL
     PAYMENT OF POST-PETITION ADMINISTRATIVE RENT AND (II) COMPEL
                  ASSUMPTION OR REJECTION OF LEASE

  TO THE HONORABLE TONY M. DAVIS,
  UNITED STATES BANKRUPTCY JUDGE:

          COMES NOW, Ronco Holdings, Inc. (“RHI”), the Debtor herein, and files this Response

  to Unopposed Motion to (I) Allow and Compel Payment of Post-Petition Administrative Rent and

  (II) Compel Assumption or Rejection of Lease (the “Motion”), and in support shows the following.


          1.     As noted in the Motion, the Debtor does not oppose the allowance of Kaonoulu

  Ranch, LLLP’s (the “Landlord”) administrative rent claim or the fixing of a date certain by which

  the Debtor must assume or reject the Ronco Lease (as defined in the Motion). Counsel for the

  Landlord and the Debtor have negotiated the terms of an amended order that addresses the issues

  contained in the Motion. The negotiated order would also fix and allow the Landlord’s rejection

  claim pursuant to 11 U.S.C. § 502(b)(6). It is anticipated that the proposed negotiated order will

  be filed with the Bankruptcy Court and uploaded by the Landlord for entry. The Order that

  accompanied the Motion would be replaced with the negotiated amended order. The 21-day

  negative notice period under which the Motion was filed extends through today, August 3, 2018.
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          WHEREFORE, PREMISES CONSIDERED, the Debtor respectfully requests that the

  Court defer entry of the order that accompanied the Motion, pending the filing and uploading of

  an amended order by the Landlord, and grant such further relief as to which the Debtor may show

  itself to be justly entitled.

          Dated: August 3, 2018                Respectfully submitted,
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                                               By: /s/ Kell C. Mercer
                                                     Kell C. Mercer
                                                     State Bar No. 24007668

                                               COUNSEL FOR RONCO HOLDINGS, INC.

                                  CERTIFICATE OF SERVICE

       I hereby certify that on this August 3, 2018, I served the foregoing pleading via the Court's
  ECF/ECM system on all parties registered to receive notice thereby.

                                               /s/ Kell C. Mercer
                                               Kell C. Mercer




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